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                     IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

                v.                                  MIK No.):101- me-3K I -ECrvi
TWITCHELL CORPORATION,
DOTHAN,AL,

                        Garnishee,

NINA MACENA,

                        Defendant.


                                      WRIT OF GARNISHMENT

GREETINGS TO:           TWITCHELL CORPORATION
                        4301 ROSS CLARK CIRCLE
                        DOTHAN,AL 36302

       An Application for a Writ of Garnishment against the property ofNina Macena,defendant,

has been filed with this Court. A Judgment has been entered against the above-named defendant

in the amount of $110,180.00, plus costs. The balance due on the Judgment as of August 13,

2019, is $108,961.20.

       You are required by law to answer in writing, under oath, within ten (10) days, whether-

or-not you have in your custody, control or posSession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.

       You must file the original written Answer to this Writ within ten (10) days of your
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receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110 Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

1301 Alexander Court, Apt. 14, Dothan, Alabama, 36301 and upon the United States

Attorney,Post Office Box 197, Montgomery, Alabama 36101.

       Under the law,there is property, which is exempt frorn this Writ ofGarnishrnent. Property

which is exempt and which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C.§1674, a Garnishee is prohibited from discharging a defendant

from employment by-reason-ofthe fact that his earnings have been subject to garnishment.

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of Ainerica may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ,the Court may enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ:

                                                        DOI-a P. Hace.tt
                                             UNITED STATES DISTRICT CLERK
